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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                         )
                                                  )
                       Plaintiff,                 )                  8:16CR62
                                                  )
       vs.                                        )                    ORDER
                                                  )
FRANCISCO GOMEZ,                                  )
ROSE GOMEZ,                                       )
JASON HIBBS,                                      )
MANUEL ORTIZ,                                     )
LORI FORMANEK and                                 )
MARIA ROBLES-ROJAS,                               )
                                                  )
                       Defendants.                )


       This matter is before the court on the motion to extend the pretrial motion deadline by
defendant Manuel Ortiz (Ortiz) (Filing No. 87). Ortiz seeks a thirty (30) day extension of the July
5, 2016, pretrial motion deadline. Ortiz has filed an affidavit wherein he consents to the motion and
acknowledges he understands the additional time may be excludable time for the purposes of the
Speedy Trial Act. Upon consideration, the motion will be granted and the pretrial motion deadline
will be extended as to all defendants.


       IT IS ORDERED:
       Defendant Ortiz's motion for an extension of time (Filing No. 87) is granted. Ortiz and all
other defendants are given until on or before August 8, 2016, in which to file pretrial motions
pursuant to the progression order. The ends of justice have been served by granting such motion
and outweigh the interests of the public and the defendant in a speedy trial. The additional time
arising as a result of the granting of the motion, i.e., the time between July 1, 2016, and August
8, 2016, shall be deemed excludable time in any computation of time under the requirement of the
Speedy Trial Act for the reason defendant's counsel requires additional time to adequately prepare
the case, taking into consideration due diligence of counsel, and the novelty and complexity of this
case. The failure to grant additional time might result in a miscarriage of justice. 18 U.S.C. §
3161(h)(7)(A) & (B).


       DATED this 1st day of July, 2016.
                                                      BY THE COURT:
                                                      s/ Thomas D. Thalken
                                                      United States Magistrate Judge
